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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                           FORT PIERCE DIVISION
                        CASE NO. 10-14062-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  STEVENSON CALIXTE-RUSSELL,

                Defendant.
  ________________________/

         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
  July 28, 2010. A Report and Recommendation filed on August 5, 2010
  recommended that the Defendant’s plea of guilty be accepted. The
  Defendant and the Government were afforded the opportunity to file
  objections to the Report and Recommendation, however, none were
  filed. The Court has conducted a de novo review of the entire file.
  Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Counts One and Twelve of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 11th
  day of August, 2010.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Thomas R. Garland, Esq.
          Robert Waters, AUSA
